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                                                          December 19, 2022

Molly C. Dwyer, Clerk of the Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
P.O. Box 193939
San Francisco, CA 94119-3939

       Re:         No. 22-55342, FTC v. Apex Capital Group, LLC

        Pursuant to Federal Rule of Appellate Procedure 28(j), Appellants Wells Fargo &
Company and Wells Fargo Bank, N.A. (together, “Wells Fargo”) notify the Court that
pursuant to Circuit Rule 28-2.6, Case No. 22-56012, FTC v. Triangle Media Corporation, is
a related case that was not pending in this Court at the time of Wells Fargo’s opening
brief. The Triangle appeal also involves the FTC and the same court-appointed receiver,
Thomas W. McNamara, and raises the same or closely related issues of (1) whether
Wells Fargo sustained an injury as a result of the Receiver’s unlawful pursuit in the
Wells Fargo Litigation sufficient to establish Article III standing to intervene; (2)
whether the district court abused its discretion in finding that Wells Fargo’s motion to
intervene was untimely; (3) whether Wells Fargo has a protectable interest to intervene
as of right; (4) whether Wells Fargo would not be able to protect its interests if unable to
intervene; and (5) whether Wells Fargo should have been permitted to intervene
pursuant to Rule 24(b).

       Wells Fargo notifies the Court of Triangle’s relatedness in the event that the Court
wishes to schedule these two related cases for oral argument together before the same
panel.

                                                                         Respectfully submitted,
                                                                         /s/ Brian D. Schmalzbach




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          Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
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                                        Counsel for Appellants
                                        Wells Fargo & Company and
                                        Wells Fargo Bank, N.A.

cc:   Counsel of Record by ECF
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                             CERTIFICATE OF SERVICE

      I hereby certify that on December 19, 2022, the foregoing was filed with the Clerk

of the United States Court of Appeals for the Ninth Circuit using the appellate CM/ECF

system, which will also serve counsel of record.


Dated: December 19, 2022                 /s/ Brian D. Schmalzbach
                                         Brian D. Schmalzbach
